  Case 4:23-cv-00800-P Document 13 Filed 10/04/23                     Page 1 of 5 PageID 2096




                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

 REGINA NACHAEL HOWELL                                §
 FOSTER,                                              §
                                                      §
      Plaintiff,                                      §
                                                      §         Civil Action No. 4:23-cv-800-P
 v.                                                   §
                                                      §
 MACKIE WOLF ZIENTZ & MANN,                           §
 P.C.,                                                §
                                                      §
      Defendant.                                      §

                        DEFENDANT’S BRIEF IN SUPPORT OF
               RESPONSE TO PLAINTIFF’S OPPOSED MOTION TO REMAND

          Defendant Mackie Wolf Zientz & Mann, P.C. (“MWZM” or “Defendant”) files this its

Brief in Support of its Response to the Motion to Remand filed by Plaintiff Regina Nachael Howell

Foster (“Plaintiff”) and respectfully show as follows:

                                           INTRODUCTION

          1.       On or about July 24, 2023, Regina Nachael Howell Foster (“Plaintiff”) filed

Plaintiff’s Third Amended Verified Petition (the “Petition”) bearing Cause No. 048-317495-20 in

the 48th Judicial District Court, Tarrant County, Texas, styled Regina Nachael Howell Foster v.

Mackie Wolf Zientz & Mann, P.C. (the “State Court Action”).

          2.       The allegations in the Petition relate to a deed of trust and foreclosure proceedings

on real property and improvements located at 3325 Stoneway Drive, Grand Prairie, Texas 75052,

(the “Property”). (See generally, Petition.) In the Petition, Plaintiff alleges that the prior Deed of

Trust on the property is void, that Defendant wrongfully foreclosed on the Property and that

Defendant filed a “misleading and deceptive” Foreclosure Sale Deed of the Property in the public

records of Tarrant County, Texas knowing that it was invalid. (See Petition at ¶¶ 1-29.) Plaintiff’s

BRIEF IN SUPPORT OF RESPONSE TO MOTION TO REMAND
MWZM: 16-002911-670                                                                           Page 1 of 5
  Case 4:23-cv-00800-P Document 13 Filed 10/04/23                    Page 2 of 5 PageID 2097



claims include denial of due process and equal protection under the fourteenth amendment to the

United States Constitution; violation of homestead rights under the Texas Constitution; breach of

duty of absolute impartiality and fairness; intentional infliction of emotional distress; violations of

the Texas Fair Debt Collection Practices Act (“TDCA”) §392.202; and violations of the Texas

Civil Practice and Remedies Code. (See Petition at ¶¶ 31-36.)

       3.      On August 1. 2023, Defendant filed its Notice of Removal to this Court based upon

federal question jurisdiction. See ECF No. 1.

       4.      On September 13, 2023, Plaintiff filed her Motion to Remand (the “Motion”),

contending that no federal claim was raised in her Original Petition. See ECF No. 9.

                               ARGUMENT AND AUTHORITIES

       5.      Federal jurisdiction exists “when a federal question is presented on the face of the

plaintiff’s properly pleaded complaint.” Caterpillar Inc. v. Williams, 482 U.S. 386, 392 (1987).

Further, federal jurisdiction "exists when 'a well-pleaded complaint establishes either

that federal law creates the cause of action or that the plaintiff's right to relief necessarily depends

on resolution of a substantial question of federal law.'" Borden v. Allstate Ins. Co., 589 F.3d 168,

172 (5th Cir. 2009) (quoting Franchise Tax Bd. v. Constr. Laborers Vacation Trust, 463 U.S. 1,

27-28, 103 S. Ct. 2841, 77 L. Ed. 2d 420 (1983)).

       6.      Plaintiff alleges that she did not assert a federal claim in her Original Petition. (See

ECF No. 9, p. 6.) Plaintiff in her Motion acknowledges that her Petition mentions the 14th

Amendment to the U.S. Constitution but argues that all of her claims arise under state law. Id.

Plaintiff alleges that she merely mentioned the 14th Amendment of the U.S. Constitution but did

not state a federal claim pursuant to the 14th Amendment. Id.

       7.      This argument, of course, is senseless. First Plaintiff begins her argument

containing her federal claim with the heading “DENIAL OF DUE PROCESS & EQUAL

BRIEF IN SUPPORT OF RESPONSE TO MOTION TO REMAND
MWZM: 16-002911-670                                                                          Page 2 of 5
   Case 4:23-cv-00800-P Document 13 Filed 10/04/23                   Page 3 of 5 PageID 2098



PROTECTION UNDER THE 14TH AMENDMENT TO THE US CONSTITUTION”. (See

Petition at p. 13.) Plaintiff clearly intended to state a federal claim under the U.S. Constitution and

does not merely “mention” the 14th Amendment as argued in her motion to remand. (See Petition

at ¶ 32.)

        8.     Second, Plaintiff specifically argues in her Petition that “Mackie Wolf filed the

deceptive and misleading Foreclosure Sale Deed that was designed and intended to deprive

Plaintiff of her constitutionally protected homestead property rights, in violation of her rights to

Due Process and Equal Protection of the laws of the State of Texas, as guaranteed by the 14th

Amendment of the United States Constitution.” (See Petition at ¶ 32.). Plaintiff also makes

reference to alleged violations of her 14th Amendment rights under the U.S. Constitution in the

Prayer of her Petition. (See Petition at p. 25.) This is a clear invocation of federal law and a clear

allegation that Plaintiff believes Defendant has violated her rights pursuant to the 14th Amendment

to the United States Constitution. (See id.).

        9.     Third, Plaintiff argues in her Motion that although her Petition mentions the 14th

Amendment to the United States Constitution, she intended the claims to only arise under the

Texas Civil Practice and Remedies Code, the Texas Property Code, and the TDCA. (See ECF No.

9, p. 6.) This directly contradicts Plaintiff’s Petition as she specifically makes separate claims

under the Texas Civil Practice and Remedies Code, the Texas Property Code, and the TDCA,

independent from her claim for violations of the 14th Amendment of the United States Constitution.

(See Petition at ¶¶ 34, 36, p. 21-24.)

        10.    Finally, in order for Plaintiff to seek relief for a due process claim, that claim must

be under the 14th Amendment to the U.S. Constitution through 42 U.S.C. §1983. Although Plaintiff

argues that all of her claims arise under state law, there is no cause of action for due process



BRIEF IN SUPPORT OF RESPONSE TO MOTION TO REMAND
MWZM: 16-002911-670                                                                          Page 3 of 5
  Case 4:23-cv-00800-P Document 13 Filed 10/04/23                   Page 4 of 5 PageID 2099



violations under Texas common law. See Bass v. D.M. Cogdell Mem'l Hosp., Civil Action No.

5:08-CV-179-C, 2008 U.S. Dist. LEXIS 140144, at *3 (N.D. Tex. Dec. 30, 2008) (“Defendant

argues that in order for Plaintiff to seek recovery for a due process claim under a federal statute,

Plaintiff must be asserting a due process claim under 42 U.S.C. § 1983. The Court agrees.”); See

also City of Beaumont v. Bouillion, 896 S.W.2d 143, 150 (Tex. 1995) (“Historically Texas

common law has not provided a cause of action for damages for the violation of constitutional

rights.”) Plaintiff, by invoking her rights under the 14th Amendment of the United States

Constitution, is necessarily requiring this Court to enforce federal law over and above any

contravening authority from the State of Texas. Plaintiff’s argument that she did not assert a federal

claim and merely mentioned the 14th Amendment of the U.S. Constitution is misleading and

incorrect.

       11.     Because it is clear that Plaintiff has stated a claim under federal law, this Court has

subject matter jurisdiction over this action pursuant to 28 U.S.C. Section 1331. The Court has

supplemental jurisdiction over Plaintiff’s state law claims. 28 U.S.C. § 1367. As such, Plaintiff’s

Motion for Remand should be denied.

       WHEREFORE, PREMISES CONSIDERED, Defendant respectfully requests that this

Court deny Plaintiff’s Motion to Remand and grant it all other relief to which it may be entitled.




BRIEF IN SUPPORT OF RESPONSE TO MOTION TO REMAND
MWZM: 16-002911-670                                                                         Page 4 of 5
  Case 4:23-cv-00800-P Document 13 Filed 10/04/23              Page 5 of 5 PageID 2100



                                               Respectfully submitted,

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                              CERTIFICATE OF SERVICE

        I hereby certify that on October 4, 2023, a true and correct copy of the foregoing was
delivered to the following counsel of record via ECF notification:

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BRIEF IN SUPPORT OF RESPONSE TO MOTION TO REMAND
MWZM: 16-002911-670                                                                 Page 5 of 5
